Case 8:22-cv-02381-MSS-SPF Document 11 Filed 01/31/23 Page 1 of 3 PageID 33




                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION

DAVID HIGGINS,

Plaintiff,                             CASE NO.: 8:22-cv-2381-MSS-SPF

vs.

WEB DIRECT BRANDS, INC.,

     Defendant.
______________________________/

                            MOTION FOR DEFAULT

       Plaintiff, DAVID HIGGINS, moves for default against the defendant, WEB

DIRECT BRANDS, INC., for failure to serve any papers responding to Plaintiff’s

Complaint on the undersigned or file any papers as required by law and in support

states the following:

       1.    On October 17, 2022, Plaintiff filed the Complaint in the above case in

the US District Court for the Middle District of Florida. (DE 1)

       2.    On October 25, 2022, Plaintiff served the Summons and Complaint

upon the Defendant. (DE 9)

       3.    On November 7, 2022, Plaintiff received Defendant’s pro se Answer &

Affirmative Defenses.

       4.    On December 5, 2022, Plaintiff filed a Notice of Filing Defendant’s Pro

Se Answer & Affirmative Defenses, which the Court struck by Order on December
Case 8:22-cv-02381-MSS-SPF Document 11 Filed 01/31/23 Page 2 of 3 PageID 34




6, 2022. (DE 8).

      5.     In its Order striking Defendant’s Answer and Affirmative Defenses, the

Court noted that a corporate defendant may not represent itself pro se and must retain

legal counsel. The Court granted Defendant 21 days to retain legal counsel. This

deadline expired on December 29, 2022.

      6.     Plaintiff’s counsel sent this Notice to Defendant as required by the

Court’s Order on December 6, 2022. (See email sent by Plaintiff’s counsel to

Defendant attached as exhibit A).

      7.     Over 50 days have passed, and Defendant has filed no answer or other

defense and no attorney has made a Notice of Appearance on the Defendant’s behalf.

      WHEREFORE, Plaintiff, DAVID HIGGINS, moves that this Court enter a

default in this matter.

      Dated this 31st day of January 2023.

                                              /s/ Gary L. Printy, Jr., Esq.
                                              Gary L Printy Jr.
                                              Florida Bar No. 41956
                                              PRINTY & PRINTY, P.A.
                                              3411 W. Fletcher Ave., Suite A
                                              Tampa, Florida 33618
                                              Telephone (813) 434-0649
                                              FAX (813) 423-6543
                                              garyjr@printylawfirm.com
                                              e-service@printylawfirm.com

                          CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on January 31, 2023, I electronically filed the
Case 8:22-cv-02381-MSS-SPF Document 11 Filed 01/31/23 Page 3 of 3 PageID 35




foregoing with the Clerk of Court using CM/ECF system and electronically mailed

a true and correct copy to:

      Anthony Gaeto, anthony@webdirectbrands.com
      Defendant
